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AO 91 (Rey. 11/11) Criminal Complaint

 

United States Courts

UNITED STATES DISTRICT COURT southern bistrict of texas

for the FILED
August 17, 2021

Nathan Ochsner, Clerk of Court

Southern District of Texas
United States of America
¥.
Roberta Angelica HERNANDEZ

CaseNo. 4:21-MJ-1766

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Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of August 16, 2021 in the county of Harris County in the
Southem District of Texas , the defendant(s) violated:

 

 

Code Section Offense Description

Title 21 USC §841(a)(1) and The defendant knowingly possessed with intent to distribute a controlled

(b)(1)(A) (viii) substance, to-wit: approximately 500 grams or more of a mixture or
substance containing a detectable amount of methamphetamine a schedule
ll controlled substance.

This criminal complaint is based on these facts:

See Atachment

Continued on the attached sheet. ?

vi is

Complainant's signature

\,

Joshua Hansen, DEA SA
Printed name and title

 

Sworn to before me and signed in my presence.

Date: 08/17/2021 bE

Judge's signature

   

 

City and state: Houston, Texas US Magistrate Peter Bray
Printed name and title

 

 

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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Joshua Hansen, being duly sworn telephonically, depose and state as follows:.

1

I am a Special Agent of the Drug Enforcement Administration (DEA), within the
meaning of Title 18, United States Code § 2510(7), that is, an officer of the United
States who is empowered by law to conduct investigations of, and to make arrests for,
offenses enumerated in Title 18, United States Code § 2516. | am responsible for
conducting and assisting in investigations into violations of US narcotics laws. I have
been a Special Agent since January 2013. I received eighteen weeks of training in
drug investigations and related legal matters at the DEA Training Academy in
Quantico, Virginia. Prior to being a Special Agent, I was a Sergeant with the
Montgomery County Precinct Three Constable’s office in Montgomery County,
Texas for approximately nine (9) years. I have received courses of instruction from
DEA relative to the investigative techniques and the conducting of drug and financial
investigations. I have participated in and conducted investigations which have
resulted in the arrests of individuals who have smuggled, received and distributed
controlled substances, including marijuana, cocaine, methamphetamine, and heroin,
as well as the seizure of illegal drugs and proceeds of the sale of those illegal drugs.
In addition, I have conducted, in connection with these and other cases, follow up
investigations concerning the concealment of drug produced assets, money, bank
records, etc., and the identification of drug conspirators through the use of ledgers,
telephone bills and records, photographs and bank checks, as related to drug
trafficking. I have participated in investigations involving the interception of wire and

electronic communications and am familiar with the ways in which drug traffickers

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conduct their business, including, but not limited to, their methods of importing and
distributing drugs, their use of cellular devices, and their use of numerical codes and
code words to conduct their illegal transactions.
Based upon my training, experience, and participation in narcotics trafficking cases,
which have resulted from violations of the Title 21, I prepared this Affidavit in support
of a criminal complaint charging Roberta Angelica HERNANDEZ, hereinafter,
HERNANDEZ with violating Title 21, United States Code, Section 841(a)(1) and
(b)(1)(A)(ii)(ID, Possess with Intent to Distribute a Controlled Substance; in this
instance, approximately five kilograms or more of methamphetamine, a schedule II
controlled substance.

PROBABLE CAUSE
Since June 2021, Houston DEA Agents and Task Force Officers have been
investigating a drug trafficking organization (DTO) operating in Houston. During the
course of the investigation, Houston DEA enforcement personnel have developed a
Cooperating Source (hereafter CS.) The CS is able to communicate with an unidentified
male, nicknamed PELON, a Mexico-based source of supply, in order to arrange the
purchase of kilogram quantities of methamphetamine in the Houston, Texas area.
According to the CS, PELON is a high-ranking member within the Sinaloa Cartel.
On June 30, 2021, the CS was directed by PELON to contact a female later identified
as Roberta HERNANDEZ via phone number -------5977 to arrange the purchase of
methamphetamine in Houston, Texas. The CS and HERNANDEZ agreed to meet at

the Mambo’s Seafood located at 6697 Hillcroft Street, Houston, Texas at

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approximately 2:00 PM, to purchase one kilogram of methamphetamine for $4,600 us
currency.

5. On that same date, at approximately 2:00 PM, DEA agents and TFOs established
surveillance in the area of 6697 Hillcroft Street, Houston, Texas. At approximately the
same time, the UC and CS arrived at the Mambo’s parking lot and waited for
HERNANDEZ in their vehicle. Shortly after arriving at Mambo’s, the CS and UC
received a message from HERNANDEZ indicating that HERNANDEZ would be
arriving in a blue Ford Escape. Shortly after the call, HERNANDEZ and a second
female later arrived at the Mambo’s parking lot driving a blue for Escape. The CS
contacted HERNANDEZ, and requested that HERNANDEZ walk over to the vehicle,
which the CS and UC were waiting in.

6. Once inside the UC's vehicle, HERNANDEZ exchanged a package containing
approximately one kilogram of crystal methamphetamine for $4,600 in US Currency,
with the CS and UC. HERNANDEZ then departed with the US currency and returned
to the blue Ford Escape.

7. Following the exchange, surveillance units followed HERNANDEZ and the second
female as they drove to Pasadena, Texas. Later that same date, surveillance agents
observed a traffic stop of the blue Ford Escape being driven by the second female with
HERNANDEZ as the passenger. The two were identified by Texas driver’s license
and identification cards. The Pasadena Patrol Sergeant making the stop noted that the
second female had approximately $4,100 in cash in her possession.

8. On July 8, 2021, DEA TFO Don Doguim, acting in an undercover capacity, along with

the CS made phone contact with HERNANDEZ, to coordinate the purchase of another

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kilogram of methamphetamine. HERNANDEZ requested that the UC and CS meet
HERNANDEZ at a Burger King restaurant located at 10205 East Freeway, Houston,
Texas 77029.

On that same date at approximately 3:00 PM, the UC and CS met with HERNANDEZ
at the Burger King and exchanged $4,600 in US currency for a package containing
approximately one kilogram of methamphetamine. Following the exchange,
surveillance agents observed HERNANDEZ walk from the Burger King restaurant to
a nearby motel at 10155 East Freeway, Houston, Texas 77029, where she entered a
second story room. Hotel records later showed that HERNANDEZ rented room #257
from July 1 through July 10, 2021.

A DEA administrative subpoena served to SPRINT, on June 30, 2021, showed the
phone number ------ 5977, which HERNANDEZ used to coordinate the two purchases
was subscribed to Roberta HERNANDEZ at 12801 Champion Forest Drive, Apt 615,
Houston, Texas 77066, and that the account was activated on April 20, 2021.

On August 5, 2021, U.S, Magistrate Sam S. Sheldon authorized the installation and
monitoring of GPS location data for Sprint / T-Mobile cellphone -------5977 utilized
and subscribed to Roberta HERNANDEZ. On August 6, 2021, Sprint / T-Mobile
activated the GPS tracking of -------5977 and began supplying the data to the Drug

Enforcement Administration.

. On August 16, 2021at approximately 11:30 AM, DEA agents and TFO’s established

surveillance relative to GPS pings for Roberta HERNANDEZ’s phone at the Luxury

Inn and Suites located at 10155 East Freeway, Houston, Texas 77029.

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13.

14,

13.

At approximately 1;30 PM, surveillance agents observed HERNANDEZ exit the hotel
from around Room #169 and enter her rented gray Kia Sportage displaying Louisiana
license plate ----518. HERNANDEZ was seen loading luggage into the small SUV and
then driving out of the parking lot. Surveillance followed HERNANDEZ as she drove
from the hotel to Baytown, Texas where she was stopped for a traffic violation by
Harris County Sheriff's Deputies. During the stop, Harris County Deputies conducted
a canine free air sniff of the vehicle and the canine gave a positive alert on the vehicle
for narcotics. During a search of the vehicle subsequent to the canine alert, deputies
located a Taurus LCP .380, semi-automatic pistol.

After the deputies had completed the search of the vehicle, DEA Special Agent Joshua
Hansen approached HERNANDEZ, who was detained in a patrol vehicle. SA Hansen
identified himself to HERNANDEZ and read HERNANDEZ her Miranda Warnings
from a DEA-13A. SA Hansen advised HERNANDEZ that she had been under
surveillance and that she was being investigated for selling kilogram quantities of
methamphetamine. SA Hansen requested her consent and cooperation to search her
hotel room at the Luxury Inn and Suites. HERNANDEZ advised SA Hansen that there
was approximately four (4) kilograms of methamphetamine in a bag back at her hotel
room and identified the room as #169. Surveillance units had maintained surveillance
of the hotel room since she had departed and there had been no further activity at the
room.

Harris County Deputies then transported HERNANDE#Z back to the Luxury Inn and
Suites where HERNANDEZ gave SA Hansen written consent to search room #169. A

card key was found on HERNANDEZ which gained access to the room. SA Hansen

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also confirmed with hotel management that HERNANDEZ was the registered guest for
room 169. Lpon entry into the room, agents located a small black cloth bag on the

luggage rack which contained approximately 5 kilograms of methamphetamine.

 

16. HERNANDEZ was placed in custody and transported to the Houston DEA Division
office for processing.
CONCLUSION
17. Based upon the above, | submit there is probable cause to believe that Roberta
Hernandez knowingly and intentionally violated Title 21, United States Code,
Section 841(a)(1) and (b)(1)(A)(viii), in this instance, 500 grams or more of a mixture
or substance containing a detectable amount of methamphetamine, a schedule II

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controlled substance. as

   

g Enforcement Administration

Sworn and subscribed to by telephone on this 17 day of August 2021, and I find
probable cause.

 
  

Peter Bray
United States Magis

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